 Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 1 of 22 PageID 1



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA


SYMBOLOGY INNOVATIONS, LLC                       §
                                                 §
         Plaintiff,                              §    CIVIL ACTION NO. 6:16-cv-2197-Orl-18-KRS
                                                 §
         v.                                      §    JURY TRIAL DEMANDED
                                                 §
BATH & BODY WORKS DIRECT, INC.,                  §
                                                 §
                                                 §
         Defendant.                              §


                      COMPLAINT FOR INFRINGEMENT OF PATENT

         COMES NOW, Plaintiff Symbology Innovations, LLC (“Symbology” or Plaintiff),

through the undersigned attorneys, and respectfully alleges, states, and prays as follows:

                                 NATURE OF THE ACTION

         1.     This is an action for patent infringement under the Patent Laws of the United

States, Title 35 United States Code (“U.S.C.”) to prevent and enjoin defendant Bath & Body

Works Direct, Inc., (hereinafter “Defendant”), from infringing and profiting, in an illegal and

unauthorized manner and without authorization and/or of the consent from Symbology, from

U.S. Patent Nos. 8,424,752 (the “‘752 patent”, attached hereto as Exhibits A); 8,651,369 (the

“‘369 patent”, attached hereto as Exhibits B); 8,936,190 (the “‘190 patent”, attached hereto as

Exhibits C); and 7,992,773 (the “‘773 patent”, attached hereto as Exhibits D) (collectively the

“Patents-In-Suit”) pursuant to 35 U.S.C. § 271, and to recover damages, attorney’s fees, and

costs.

                                         THE PARTIES

         2.     Plaintiff Symbology is a Texas company with its principal place of business at

1400 Preston Road, Suite 400, Plano, TX 75093.
 Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 2 of 22 PageID 2




        3.        Upon information and belief, Defendant is a company organized under the laws of

Delaware, having a principal place of business at 5 Limited Parkway, Reynoldsburg, OH 43068.

Upon information and belief, Defendant may be served with process at CT Corporation System,

1200 S. Pine Island Rd., Plantation, FL 33324.

                                  JURISDICTION AND VENUE

        4.        The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§1331 and 1338(a) because the action arises under the Patent Laws of the United States, 35

U.S.C. §§ 1 et seq.

        5.        This Court has personal jurisdiction over Defendant by virtue of its systematic

and continuous contacts with this jurisdiction, including having stores and employees in Florida,

as well as because of the injury to Symbology, and the cause of action Symbology has risen, as

alleged herein.

        6.        Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Florida Long Arm Statute, due at least to its substantial

business in this forum, including: (i) at least a portion of the infringements alleged herein; and

(ii) regularly doing or soliciting business, engaging in other persistent courses of conduct, and/or

deriving substantial revenue from goods and services provided to individuals in Florida and in

this judicial district.

        7.        Defendant has conducted and does conduct business within the state of Florida,

including the geographic region within the Middle District of Florida, directly or through

intermediaries, or offers and advertises (including through the use of interactive web pages with

promotional material) products or services, or uses services or products in Florida, including this

judicial district, in a manner that infringes the Patents-In-Suit.
 Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 3 of 22 PageID 3




       8.       Specifically, Defendant solicits business from and markets its services to

consumers within Florida, including the geographic region within the Middle District of Florida,

by providing promotions or advertisements that require the use of a method for presenting

information about an object on a portable electronic device, as described in the Patents-In-Suit.

       9.       In addition to Defendant’s continuously and systematically conducting business in

Florida, the causes of action against Defendant are connected (but not limited) to Defendant’s

purposeful acts committed in the state of Florida including Defendant’s use of a method for

presenting information about an object on a portable electronic device, as described in the

Patents-In-Suit.

       10.      Venue lies in this judicial district pursuant to 28 U.S.C. §§1391 and 1400(b).

                                  FACTUAL ALLEGATIONS

                                                ‘752 patent

       11.      On April 23, 2013, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘752 patent, titled “System and method for presenting information

about an object on a portable electronic device” after a full and fair examination.

       12.      Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘752 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘752 patent, including the exclusive right to recover for past

infringement.

       13.      The ‘752 patent contains three independent claims and twenty-five dependent

claims. Defendant uses, inter alia, methods that perform all the steps recited in at least one claim

of the ‘752 patent.
 Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 4 of 22 PageID 4




        14.     The invention claimed in the ‘752 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology,

is detected.

                                                ‘369 patent

        15.     On February 18, 2014, the United States Patent and Trademark Office

(“USPTO”) duly and legally issued the ‘369 patent, titled “System and method for presenting

information about an object on a portable electronic device” after a full and fair examination.

        16.     Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘369 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘369 patent, including the exclusive right to recover for past

infringement.

        17.     The ‘369 patent contains three independent claims and twenty-five dependent

claims. Defendant uses, inter alia, methods that perform all the steps recited in at least one claim

of the ‘369 patent.

        18.     The invention claimed in the ‘369 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology,

is detected.

                                                ‘190 patent

        19.     On January 20, 2015, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘190 patent, titled “System and method for presenting information

about an object on a portable electronic device” after a full and fair examination.

        20.     Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘190 patent from the previous assignee of record. Symbology possesses all
 Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 5 of 22 PageID 5




rights of recovery under the ‘190 patent, including the exclusive right to recover for past

infringement.

        21.     The ‘190 patent contains three independent claims and seventeen dependent

claims. Defendant uses, inter alia, methods that perform all the steps recited in at least one claim

of the ‘190 patent.

        22.     The invention claimed in the ‘190 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology,

is detected.

                                                ‘773 patent

        23.     On August 9, 2011, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘773 patent, titled “System and method for presenting information

about an object on a portable electronic device” after a full and fair examination.

        24.     Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘773 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘773 patent, including the exclusive right to recover for past

infringement.

        25.     The ‘773 patent contains three independent claims and fifteen dependent claims.

Defendant uses, inter alia, methods that perform all the steps recited in at least one claim of the

‘190 patent.

        26.     The invention claimed in the ‘773 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology,

is detected.

                                         COUNT I
                              INFRINGEMENT OF THE ‘752 PATENT
 Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 6 of 22 PageID 6




       27.     Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 26.

       28.      In violation of 35 U.S.C. § 271, Defendant is now, and has been directly

infringing the ‘752 patent

       29.     Defendant has had knowledge of infringement of the ‘752 patent at least as of the

service of the present complaint.

       30.     On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 1, of the ‘752 patent by using and/or incorporating

Quick Response Codes (QR codes) in advertising in a manner covered by one or more claims of

the ‘752 Patent. Defendant has infringed and continues to infringe the ‘752 Patent in violation of

35 U.S.C. § 271.

       31.     On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes in advertising, associating such QR codes with products and/or services.

One specific example of Defendant’s activity involves the use of QR codes on advertising

associated with its products or services.

       32.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with its advertising. On information and belief,

Defendant has captured a digital image of a QR code associated with advertising related to

Defendant’s products or services, an example of which is shown below.
Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 7 of 22 PageID 7




      33.    On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of

a smart phone for example, to capture a digital image of the QR code associated with its

products/services and advertisement.

      34.    On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the product or service associated with the QR code). On information and belief the

scanning technology is used to decode the symbology to obtain a decode string. The decode

string is sent to a remote server for further processing. Based on the decode string, the remote

server sends information associated with the QR code, which is received by the user of the

portable electronic device and displayed on a display associated with the portable electronic

device.
 Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 8 of 22 PageID 8




       35.       For example, if a user scans a QR code associated with Defendant’s advertising,

scanning technology decodes the pattern of the QR code to obtain a decode string and sends the

decode string to a remote server. The server returns information associated with the QR code.

In this example, the information received by the user and displayed on the portable electronic

device is information about Defendant’s products and includes a website providing additional

information related to the product or services as shown below.




       36.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘752 patent, pursuant to 35 U.S.C. § 271.

       37.       Defendant has committed these acts of infringement without license or

authorization.
 Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 9 of 22 PageID 9




       38.     As a result of Defendant’s infringement of the ‘752 patent, Symbology has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.

       39.     Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                        COUNT II
                              INFRINGEMENT OF THE ‘369 PATENT

       40.     Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 39.

       41.      In violation of 35 U.S.C. § 271, Defendant is now, and has been directly

infringing the ‘369 patent.

       42.     Defendant has had knowledge of infringement of the ‘369 patent at least as of the

service of the present complaint.

       43.     On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 1, of the ‘369 Patent by using and/or incorporating

Quick Response Codes (QR codes) in advertising in a manner covered by one or more claims of

the ‘369 Patent. Defendant has infringed and continues to infringe the ‘369 Patent in violation of

35 U.S.C. § 271.

       44.     On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes in advertising, associating such QR codes with products and/or services.

One specific example of Defendant’s activity involves the use of QR codes on advertising

associated with its products or services.
Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 10 of 22 PageID 10




       45.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with its advertising. On information and belief,

Defendant has captured a digital image of a QR code associated with advertising related to

Defendant’s products or services, an example of which is shown below.




       46.     On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of a

smart phone for example, to capture a digital image of the QR code associated with its

products/services and advertising.

       47.     On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the products or service associated with the QR code). On information and belief the

scanning technology is used to decode the symbology to obtain a decode string. The decode

string is sent to a remote server for further processing. Based on the decode string, the remote
Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 11 of 22 PageID 11




server sends information associated with the QR code, which is received by the user of the

portable electronic device and displayed on a display associated with the portable electronic

device.

          48.   For example, if a user scans a QR code associated with Defendant’s advertising,

scanning technology decodes the pattern of the QR code to obtain a decode string and sends the

decode string to a remote server. The server returns information associated with the QR code.

In this example, the information received by the user and displayed on the portable electronic

device is information about Defendant’s products and includes a website providing information

related to the products or services as shown below.




          49.   By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘369 patent, pursuant to 35 U.S.C. § 271.
Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 12 of 22 PageID 12




       50.       Defendant has committed these acts of infringement without license or

authorization.

       51.       As a result of Defendant’s infringement of the ‘369 patent, Symbology has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.

       52.       Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.



                                         COUNT III
                               INFRINGEMENT OF THE ‘190 PATENT


       53.       Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 52.

       54.       In violation of 35 U.S.C. § 271, Defendant is now, and has been directly

infringing the ‘190 patent.

       55.       Defendant has had knowledge of infringement of the ‘190 patent at least as of the

service of the present complaint.

       56.       On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 1, of the ‘190 Patent by using and/or incorporating

Quick Response Codes (QR codes) in advertising in a manner covered by one or more claims of

the ‘190 Patent. Defendant has infringed and continues to infringe the ‘190 Patent in violation of

35 U.S.C. § 271.
Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 13 of 22 PageID 13




       57.     On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes in advertising, associating such QR codes with products and/or services.

One specific example of Defendant’s activity involves the use of QR codes on advertising

associated with its products or services.

       58.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with its advertising. On information and belief,

Defendant has captured a digital image of a QR code associated with advertising related to

Defendant’s products or services, an example of which is shown below.




       59.     On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of a

smart phone for example, to capture a digital image of the QR code associated with its

products/services and advertising.

       60.     On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology
Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 14 of 22 PageID 14




detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the products or service associated with the QR code). On information and belief the

scanning technology is used to decode the symbology to obtain a decode string. The decode

string is sent to a remote server for further processing. Based on the decode string, the remote

server sends information associated with the QR code, which is received by the user of the

portable electronic device and displayed on a display associated with the portable electronic

device.

          61.   For example, if a user scans a QR code associated with Defendant’s advertising,

scanning technology decodes the pattern of the QR code to obtain a decode string and sends the

decode string to a remote server. The server returns information associated with the QR code.

In this example, the information received by the user and displayed on the portable electronic

device is information about Defendant’s products and includes a website providing information

related to the products or services as shown below.
Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 15 of 22 PageID 15




       62.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘190 patent, pursuant to 35 U.S.C. § 271.

       63.       Defendant has committed these acts of infringement without license or

authorization.

       64.       As a result of Defendant’s infringement of the ‘190 patent, Symbology has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.

       65.       Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.
Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 16 of 22 PageID 16




                                        COUNT IV
                              INFRINGEMENT OF THE ‘773 PATENT


       66.     Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 65.

       67.      In violation of 35 U.S.C. § 271, Defendant is now, and has been directly

infringing the ‘773 patent.

       68.     Defendant has had knowledge of infringement of the ‘773 patent at least as of the

service of the present complaint.

       69.     On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 1, of the ‘773 Patent by using and/or incorporating

Quick Response Codes (QR codes) in advertising in a manner covered by one or more claims of

the ‘773 Patent. Defendant has infringed and continues to infringe the ‘773 Patent in violation of

35 U.S.C. § 271.

       70.     On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes in advertising, associating such QR codes with products and/or services.

One specific example of Defendant’s activity involves the use of QR codes on advertising

associated with its products or services.

       71.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with its advertising. On information and belief,

Defendant has captured a digital image of a QR code associated with advertising, an example of

which is shown below.
Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 17 of 22 PageID 17




       72.     On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of a

smart phone for example, to capture a digital image of the QR code associated with its

products/services and advertising.

       73.     On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the products or service associated with the QR code). On information and belief the

scanning technology is used to decode the symbology to obtain a decode string. The decode

string is then sent to a visual detection application residing on a portable electronic device (i.e.,

camera residing in the smart phone) for processing. On information and belief the portable

electronic device then receives from the visual detection application a first amount of

information about the object (e.g., a decode string and corresponding URL). After the first

amount of information is received, the decode string is sent to a remote server for processing and
Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 18 of 22 PageID 18




a second amount of information (e.g., website and content related to its products or services)

about the object is received by the portable electronic device. On information and belief the first

and second amounts of information are then combined to obtain cumulative information (e.g., a

display of both the URL and the corresponding website related to its products or services) to be

displayed in the portable electronic device (e.g., on the display of the smart phone).

       74.     For example, the cumulative information received by the user and displayed on

the portable electronic device includes the URL and the corresponding website related to its

products or services, as shown below.




       75.     Furthermore, an on information and belief, the portable electronic device utilized

by Defendant, at least during internal use and testing, allows for a visual detection system (e.g.

the camera functionality in combination with the QR Code Scanning application) to run in the
Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 19 of 22 PageID 19




background with respect to other systems associated with the mobile device (e.g. the QR Code

scanning application and its corresponding camera functionality can run in the background in

standby), the visual detection systems comprising one or more visual detection applications (e.g.

QR code scanning applications) and one or more visual detection devices (e.g. the camera

integrated on the smartphone), the one or more visual detection devices configured to detect the

symbology associated with the object (e.g. the camera on the smartphone is configured to detect

and decode QR codes via the QR code scanning application). As shown below, the visual

detection systems can run in the background with respect to other systems associated with the

portable electronic device.
Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 20 of 22 PageID 20




        76.      By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘773 patent, pursuant to 35 U.S.C. § 271.

        77.      Defendant has committed these acts of infringement without license or

authorization.

        78.      As a result of Defendant’s infringement of the ‘773 patent, Symbology has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.

        79.      Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                     DEMAND FOR JURY TRIAL

   80. Symbology demands a trial by jury of any and all causes of action.

                                     PRAYER FOR RELIEF

        WHEREFORE, Symbology prays for the following relief:

        a.       That Defendant be adjudged to have directly infringed the Patents-In-Suit either

literally or under the doctrine of equivalents;

        b.       That Defendant, its officers, directors, agents, servants, employees, attorneys,

affiliates, divisions, branches, parents, and those persons in active concert or participation with

any of them, be permanently restrained and enjoined from directly infringing the ‘Patents-In-

Suit;

        c.       An award of damages pursuant to 35 U.S.C. §284 sufficient to compensate

Symbology for the Defendant’s past infringement and any continuing or future infringement up
Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 21 of 22 PageID 21




until the date that Defendant is finally and permanently enjoined from further infringement,

including compensatory damages;

       d.      An assessment of pre-judgment and post-judgment interest and costs against

Defendant, together with an award of such interest and costs, in accordance with 35 U.S.C. §284;

       e.      That Defendant be directed to pay enhanced damages, including Symbology’s

attorneys’ fees incurred in connection with this lawsuit pursuant to 35 U.S.C. §285; and

       f.      That Symbology have such other and further relief as this Court may deem just

and proper.
Case 6:16-cv-02197-PGB-KRS Document 1 Filed 12/22/16 Page 22 of 22 PageID 22




Dated: December 20, 2016           Respectfully Submitted,

                                   By: /s/Sonia Colon
                                   Sonia Colon
                                   USDC No. 0050475
                                   Ferraiuoli LLC
                                   Bank of America Bldg.
                                   390 N. Orange Avenue
                                   Suite 2300
                                   Orlando, FL 32801
                                   Telephone: (787) 766-7000
                                   Facsimile: (787) 766-7001
                                   Email: scolon@ferraiuoli.com

                                   Eugenio J. Torres-Oyola
                                   USDC No. 215505
                                   Ferraiuoli LLC
                                   221 Plaza, 5th Floor
                                   221 Ponce de León Avenue
                                   San Juan, PR 00917
                                   Telephone: (787) 766-7000
                                   Facsimile: (787) 766-7001
                                   Email: etorres@ferraiuoli.com

                                   Jean G. Vidal Font
                                   USDC No. 227811
                                   Ferraiuoli LLC
                                   221 Plaza, 5th Floor
                                   221 Ponce de León Avenue
                                   San Juan, PR 00917
                                   Telephone: (787) 766-7000
                                   Facsimile: (787) 766-7001
                                   Email: jvidal@ferraiuoli.com

                                   ATTORNEYS FOR PLAINTIFF
                                   Symbology Innovations, LLC
